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                          IN THE UNITED STATES DISTRICT COURT
                           OF THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 FINANCIAL PACIFIC LEASING, INC. §
 D/B/A UMPQUA BANK VENDOR §
 FINANCE,                        §
                                 §
       Plaintiff,                §
                                 §                      Case No. __________________
 V.                              §
                                 §
 HILLCREST MEDICAL VENTURES, §
 L.L.C. AND MARLON DAYMOND §
 PADILLA,                        §
                                 §
       Defendants.               §

                                           ORIGINAL COMPLAINT

       Plaintiff, Financial Pacific Leasing, Inc. d/b/a Umpqua Bank Vendor Finance, files its

Original                                                   Hillcrest Medical Ventures, L.L.C. and

                                                          , and would respectfully show the Court

the following:

                                           I. PARTIES

       1.        Financial Pacific Leasing, Inc. d/b/a Umpqua Bank Vendor Finance     FPL

corporation organized and existing under the laws of the State of Washington, whose principal

place of business is located in Federal Way, Washington. FPL is a wholly owned subsidiary of

Umpqua Bank, which is a wholly owned subsidiary of Umpqua Holdings Corporation, a publicly

traded company. Umpqua Bank is a bank chartered in the State of Oregon with its principal place

of business in the State of Oregon. Umpqua Holding Corporation is incorporated under the laws

of the State of Oregon with its principal place of business in Portland, Oregon.




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        2.      Hillcrest Medical Ventures, L.L.C                       is a Texas Limited Liability

Company duly organized in accordance with the laws of the State of Texas, which may be served

through its registered agent Marlon D. Padilla, at 7115 Lakeshore Drive, Dallas, Texas 75214.

                                                                        principal place of business is

located at 7115 Lakeshore Drive, Dallas, Texas 75214. Hillcrest also operates at 8611 Hillcrest

Avenue, Suite 180, Dallas, Texas 75225

        3.      Defendant Marlon Daymond Padilla (SSN: XXXXXX866; DOB: XX-XX-1958)

  Dr. Padilla       Texas citizen engaged in business in with FPL, a Washington corporation. Dr.

Padilla may be served with appropriate process at his residence, 7115 Lakeshore Drive, Dallas,

Texas 75214.

                                II. JURISDICTION AND VENUE

        4.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because the parties are

citizens of different states and the amount in controversy exceeds $75,000.00, exclusive of interest

and costs.

        5.      This Court has venue pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to          claims occurred in this district.

principal place of business is within this district and Dr. Padilla resides in this district.

                                              III. FACTS

        6.      On or about August 22, 2019, Hillcrest, as customer, and FPL, as secured party,

executed an Equipment Finance Agreement No. 015.1571026.301

FPL financed the purchase of certain equipment, as defined therein and described on the

                                                                                         ss. A true and

correct copy of the Agreement is attached hereto and incorporated by reference for all purposes as



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        7.      In conjunction with the Agreement, Dr. Padilla executed an unconditional Personal

                                                   opy of the Guaranty is contained on the first page

of the Agreement.

        8.



obligations to FPL under the Agreement.

        9.      At all times relevant herein, Dr. Padilla, upon information and belief, was the Owner,

Chief Executive Officer, and Director of Hillcrest. As such, Dr. Padilla was engaged in the active,

substantial and continuing personal participation in the management and day-to-day operations of

Hillcrest. In this capacity, Dr. Padilla had the authority to make payments and disburse funds held by

or in possession of Hillcrest and was ultimately responsible for the distribution and allocation of funds

received by Hillcrest.

        10.     FPL provided financing to Hillcrest under the terms of the Agreement. A

description of the Equipment was provided to Defendants and may be found attached to the

Agreement. The total consideration contracted to be paid by Hillcrest on the Agreement was

initially to be paid to FPL in one (1) prepayment of $99.00, an administrative fee of $350.00, two

(2) consecutive monthly payments of $99.00, followed by sixty (60) consecutive monthly

payments of $3,584.14, until the Agreement was paid in full or until terminated in accordance with

the terms thereof.

        11.     FPL duly perfected its security interest in the Equipment by filing a UCC-1

financing statement with the Texas Secretary of State on September 4, 2019, which was assigned

File Number 190033707909. A true and correct copy of the UCC-1 financing statement filed by



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       12.     Upon a default of the Agreement, FPL may, among other things, require the

Defendants to pay a sum equal to all unpaid payments for the remainder of the Agreement, plus

all other amounts due or to become due during the term of the Agreement. See Exhibit A, ¶ 11.

       13.                                   Hillcrest, and by way of the Guaranty, Dr. Padilla,

defaulted under the Agreement by failing to make the payment due on December 1, 2019, and

have failed and refused to make payments when due thereafter under the terms of the Agreement.



has accelerated the maturity of the Agreement in accordance with ¶ 11 of said Agreement, and has

declared the entire unpaid balance due and owing.

       14.     After the allowance of all just and lawful offsets, payments, and credits to

                                              220,461.15 is past due and unpaid, and Defendants,

although repeatedly requested by FPL, have wholly failed and refused and still refuse to pay the

same or any part thereof.

       15.     FPL is the holder and secured party under said Agreement. All conditions precedent



from Defendants have been performed or have occurred, and all notices required have been given

or have been waived.

       16.     All conditions precedent to          right to recover judgment, order of sale and

                                                                                             and

all notices required have been given or have been waived.




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                                    IV. CAUSES OF ACTION

                                 COUNT 1: BREACH OF CONTRACT

        17.     FPL incorporates herein all prior and subsequent allegations in this pleading as though

fully set forth herein.

        18.     FPL is the holder of the Agreement, including all exhibits and attachments thereto.

        19.     After the allowance of all lawful offsets, credits, and payments to the Agreement,

the balance thereon of $220,461.15 is past due and unpaid.

        20.     Hillcrest, although repeatedly requested by FPL, has wholly failed and refused and

still refuses to pay the same or any part thereof. Accordingly, Hillcrest has breached its contractual

obligations to Plaintiff.

        21.

occurred, or have been waived.

                            COUNT 2: PERSONAL GUARANTORS LIABILITY

        22.     FPL incorporates all prior and subsequent allegations in this pleading as though fully

set forth herein.

        23.     As personal guarantor, Dr. Padilla, upon               default under the Agreement,

became unconditionally liable to FPL for full payment and performance of all of

obligations to FPL under the Agreement. Dr. Padilla has failed and refused to so pay or perform.

        24.     FPL has been damaged by                   default in the amount $220,461.15, plus

interest and collection costs, for which it now seeks judgment against Dr. Padilla pursuant to the

Guaranty.

        25.     After the allowance of all just and lawful offsets, payments and credits to           s

account, a balance thereon of $220,461.15 remains due, unpaid, and owing. Although repeatedly



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requested by FPL, the Defendants have wholly failed and refused and still refuse to pay the same or

any part thereof.

                                     COUNT 3: ATTORNEYS FEES

        26.     FPL incorporates all prior and subsequent allegations in this pleading as though

fully set forth herein.

        27.                                                                          Agreement and

Guaranty, FPL placed the aforementioned contracts in the hands of the undersigned attorney for



which Defendants have become liable pursuant to ¶ 11 of the Agreement and by virtue of T EX.

CIV. PRAC. & REM. CODE § 38.001 et seq.

                          V. CONCLUSION AND REQUEST FOR RELIEF

        For the reasons stated above, FPL prays that Defendants be cited to appear and answer

herein, and that after consideration of the evidence and pleadings herein, FPL have and recover a

judgment awarding all monetary relief to which it may show itself justly entitled, including

deficiency, attorney      fees, court costs, prejudgment interest at the contract rate of 18.00% per

annum from the date of default, and post-judgment interest as provided by law. FPL further prays

that the Court grant it any such other and further relief to which Plaintiff may be entitled at law or

in equity.

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                                   Respectfully Submitted,

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